                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 18-06889-EPB
Rita Marie Ippolito-Parouse                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: stangretw                    Page 1 of 2                          Date Rcvd: Jul 20, 2018
                                      Form ID: cla001                    Total Noticed: 26


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 22, 2018.
db              Rita Marie Ippolito-Parouse,    10316 E. Verbena Lane,    Scottsdale, AZ 85255
15084409       +Bank of America, N.A.,   PO Box 45144,    Jacksonville FL 32232-5144
15084414       +Citicards CBNA,   PO Box 6190,    Sioux Falls SD 57117-6190
15084418       +Honor Health-Scottsdale Shea Med Center,     9003 E. Shea Blvd.,   Scottsdale AZ 85260-6709
15084420       +Hyundai Financial Leasing,    PO Box 105291,    Atlanta GA 30348-5291
15084423        Macy’s,   PO Box 78029,    Phoenix AZ 85062-8029
15084424       +Maricopa Ambulance LLc,    PO Box 660030,    Dallas TX 75266-0030

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: AZDEPREV.COM Jul 21 2018 04:53:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
15084406        EDI: BANKAMER.COM Jul 21 2018 04:53:00      Bank of America,   PO Box 982238,    El Paso TX 79998
15084410        EDI: BANKAMER.COM Jul 21 2018 04:53:00      Bank of America, N.A.,    PO Box 982238,
                 El Paso TX 79998
15084408        EDI: BANKAMER.COM Jul 21 2018 04:53:00      Bank of America, N.A.,    PO Box 15220,
                 Wilmington DE 19886-5220
15084407        EDI: BANKAMER.COM Jul 21 2018 04:53:00      Bank of America, N.A.,    PO Box 2759,
                 Jacksonville FL 32203-2759
15084411       +EDI: TSYS2.COM Jul 21 2018 04:53:00      Barclays Bank Delaware,    PO Box 8803,
                 Wilmington DE 19899-8803
15084412        EDI: CAPITALONE.COM Jul 21 2018 04:53:00      Capital One,   15000 Capital One Drive,
                 Henrico VA 23238
15084413       +EDI: CAPITALONE.COM Jul 21 2018 04:53:00      Capital One Bank USA Na,    PO Box 30281,
                 Salt Lake City UT 84130-0281
15084415       +EDI: WFNNB.COM Jul 21 2018 04:53:00      Comenity Capital Bank Overstock.com,    PO Box 182120,
                 Columbus OH 43218-2120
15084416       +EDI: CRFRSTNA.COM Jul 21 2018 04:53:00      Credit First N.A.,   6275 Eastland Rd.,
                 Brookpark OH 44142-1399
15084417        EDI: DISCOVER.COM Jul 21 2018 04:53:00      Discover Financial Services,    PO Box 15316,
                 Wilmington DE 19850
15084419        EDI: HY11.COM Jul 21 2018 04:53:00      Hyundai Finance,   10550 Talbert Avenue,
                 Fountain Valley CA 92708
15084421        EDI: CBSKOHLS.COM Jul 21 2018 04:53:00      Kohl’s Credit,   PO BOX 3043,
                 Milwaukee WI 53201-3043
15084422       +EDI: CBSKOHLS.COM Jul 21 2018 04:53:00      Kohls/Capital One,   N56 W 17000 Ridgewood Drive,
                 Menomonee Falls WI 53051-5660
15084425       +EDI: MERRICKBANK.COM Jul 21 2018 04:53:00      Merrick Bank,   PO Box 9201,
                 Old Bethpage NY 11804-9001
15085730       +EDI: PRA.COM Jul 21 2018 04:53:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
15084426       +EDI: RMSC.COM Jul 21 2018 04:53:00      Synchrony Bank Amazon,   PO Box 960013,
                 Orlando FL 32896-0013
15084427        EDI: RMSC.COM Jul 21 2018 04:53:00      Synchrony Bank dba Walmart,    Attn: Bankruptcy Dept,
                 PO BOX 965060,   Orlando FL 32896-5060
15084428       +EDI: USAA.COM Jul 21 2018 04:53:00      USAA Savings Bank,   10750 Mc Dermott Fwy,
                 San Antonio TX 78288-1600
                                                                                              TOTAL: 19

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*               +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 22, 2018                                            Signature: /s/Joseph Speetjens
District/off: 0970-2         User: stangretw              Page 2 of 2                  Date Rcvd: Jul 20, 2018
                             Form ID: cla001              Total Noticed: 26

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 20, 2018 at the address(es) listed below:
              KYLE A. KINNEY    on behalf of Debtor Rita Marie Ippolito-Parouse kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              MICHAEL P. LANE    on behalf of Trustee ROGER W. BROWN mplbkcourt@lane-nach.com,
               deborah.mckernan@lane-nach.com,
              ROGER W. BROWN    rogerbrowntrustee@live.com, rwb@trustesolutions.net,rrwwbb@hotmail.com
              U.S. TRUSTEE    USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
FORM CLA−001
REVISED 01/12/2012



                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA

In re:                                                       Case No.: 2:18−bk−06889−EPB

    Rita Marie Ippolito−Parouse                              Chapter: 7
    10316 E. Verbena Lane
    Scottsdale, AZ 85255
    SSAN: xxx−xx−6175
    EIN:

Debtor(s)


                          NOTICE FIXING LAST DATE TO FILE CLAIMS

NOTICE IS HEREBY GIVEN THAT:
1. All Creditors of the above−named estate are required to file their claim pursuant to Bankruptcy Rule 3002(c) (5)
on or before October 22, 2018 in order to participate in the distribution of funds available. Any creditor who has
previously filed a claim need not file again. Please be advised that filing a claim does not guarantee that you will
receive payment on that claim. Whether you receive payment and the amount of any payment depends upon the
amount of funds in the estate and whether there are administrative costs and priority claims to be paid.

2. For governmental units, a proof of claim must be filed by the aforementioned deadline or 180 days after the date
of the order for relief in this case, whichever is later.

3. The proof of claim form can be obtained at the court's front counter and self help centers as well as access to
fillable PDF versions on the court's website www.azb.uscourts.gov. If you are a creditor (the person who is owed
money in a bankruptcy case) and are not represented by an attorney, you may also file a Proof of Claim and upload
PDF attachments via an online form on the court's website.

4. YOU ARE FURTHER NOTIFIED THAT if a distribution is to be declared for creditors, it will not be made until
conclusion of the administration of this estate by the trustee. At a later date, you will be given notice of the trustee's
final account and report and the proposed distribution.


Date: July 20, 2018

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
